                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

James Doe                                                  C.A. No. 20-cv-1338

vs.                                                        Judge Carl J. Barbier

The Roman Catholic Church of                               Mag. Dana C. Douglas
The Archdiocese of New Orleans,
et al

                                   MOTION TO REMAND

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, under the pseudonym

James Doe, who respectfully moves this Court for an Order remanding this case to Civil District

Court for the Parish of Orleans. This matter should be remanded for the following non-exclusive

reasons: (1) the mandatory abstention doctrine requires remand; (2) alternatively, the permissive

abstention doctrine strongly favors remand; and (3) equity requires remand.

                                            Respectfully submitted:

                                            __/s Soren E. Gisleson_____________________
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                                              Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE



       I hereby certify that the foregoing has been served on all counsel of record by operation of

the Court’s electronic filing system on this 7th day of July, 2020.

                                              S/Soren E. Gisleson




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